Case 22-52950-pmb        Doc 135      Filed 08/25/22      Entered 08/25/22 16:22:11           Desc Main
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                                 Filed 08/11/22 Page 1 of 08/11/22
                                                 Entered  4        13:19:25                Desc Main
                                Document     Page 6 of 10

                                                                                       Filed in U.S, Bankruptcy Court
                                                                                              Atlanta, georgia
                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA                                       AUG 2 5 Za22
                                 ATLANTA DIVISION                                          M. Regina Thomas, Clerk
                                                                                     By:
                                                       CASE NO. 22-52950-PMB                    Duty Clerk
 IN RE:

 ATLANTA LIGHT BULBS, INC.,                            CHAPTER 7

               Debtor.                                 JUDGE BAISIER

          REQUEST FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE
                  EXPENSE CLAIM PURSUANT TO 11 U.S.C. 503

         COMES NOW the claimant identified below and hereby requests the allowance of an
 administrative expense claim pursuant to Section 503 of the Bankruptcy Code, and hereby shows
 the following:

 Name of Claimant:       TADD LLC dba Light Efficient Design

 Address of Claimant: 188 S Northwest Highway, Cary IL 60013



 Phone: 847-380-3540                          Email:    arged-11c.com

 Amount of 11 U.S.C. § 503 Administrative Expense: $         $3,737.00

          1.   The undersigned holds an administrative expense claim arising on or after May
 23, 2022, through July 6, 2022, pursuant to 11 U.S.C. § 503 in the amount identified above
 against          the           Debtor          in         the          Chapter           11
 Case:      22-52950-PMB


         /.     The consideration for this debt (or ground for this liability) owed by the Debtor is
 as follows:   9 unpaid invoices




        3.     The administrative expense is entitled to administrative priority under 11             §
 503(b) and 11 U.S.C. § 507(a)(2) because: Customer received our inventory and did not pay their
   invoices
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        5.      The amount of all payments on the gap claim have been credited and deducted for
 the purpose of making this request.

        6.     The undersigned is aware that under 18 U.S.C. §§ 152 and 3571, the penalty for
 presenting a fraudulent claim in a bankruptcy case includes a fine of up to $500,000 or
 imprisonment for up to five years, or both.

         WHEREFORE, the undersigned requests that the Court allow the gap claim requested
 herein, to be paid in accordance with the priorities set forth in the Bankruptcy Code and based
 upon availability of funds.

      YOU ARE ENCOURAGED TO CONSULT YOUR ATTORNEY REGARDING
 THE LAW, YOUR LEGAL RIGHTS, THE MEANING OF TERMS USED IN THE
 BANKRUPTCY CODE, THIS REQUEST FORM AND THE CHAPTER 11 GAP AND
 ADMINISTRATIVE CLAIMS BAR DATE NOTICE.

   Dated:   N           zoz-z----
                                         Name of Claimant:
                                         1 -1\CA A zsa_ou.s            —        nkccok-,A
                                         Signed:


                                          By (if appropriate):


                                         As Its (if appropriate):


 INSTRUCTIONS: Mail the completed form to: Clerk, United States Bankruptcy Court, Room
 1340, Russell Federal Building and United States Courthouse, 75 Ted Turner Drive, SW, Atlanta,
 Georgia 30303, so as to be received no later than September 26, 2022. A copy of the completed
 form should also be mailed to counsel for the Trustee at: Law Offices of Henry F. Sewell, Jr., LLC,
 do Henry F. Sewell, Jr., Esq., Buckhead Centre, 2964 Peachtree Road NW, Suite 555, Atlanta,
 GA 30305.
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LIGHT EFFICIENT DESIGN

Customer Inv Payments for: ATLANTA LIGHT BULBS - NO SALES

Date:2022/08/19 11:56
Invoice date Invoice    Type   Month posted   Amount P.O.        Sales order   Due date
  08/24/20     411479   INV      08/2020        59.84 5045683    284458        09/23/20
  09/21/20     414185   INV      09/2020       306.82 5045746    284802        10/21/20
  09/24/20     414788   INV      09/2020       975.00 5046177    287570        10/24/20
  11/05/20     420299   INV      11/2020        50.60 5046750    292122        12/05/20
  12/08/20     424705   INV      12/2020       999.29 5047046    294387        01/07/21
  12/28/20     427595   INV      12/2020        30.36 5047388    297288        01/27/21
  01/25/21     430797   INV      01/2021      1,076.20 5047614   299727        02/24/21
  02/08/21     432657   INV      02/2021       109.35 5047614    299727        03/10/21
  09/03/21     455656   INV      09/2021       130.28 5048553    309935        10/03/21



                                              3,737.74
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